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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
DMP:ICR/JGH                                        271 Cadman Plaza East
F. #2016R00532                                     Brooklyn, New York 11201


                                                   October 15, 2021

By ECF

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Sinmyah Amera Ceasar
                     Criminal Docket No. 17-48 (KAM)
                     Criminal Docket No. 19-117 (KAM)

Dear Judge Matsumoto:

              The government learned yesterday that the defendant in the above-captioned
cases has been returned by the United States Marshals Service to the Eastern District of New
York and is currently in custody at the Metropolitan Detention Center.

               The defendant is currently scheduled to be sentenced by this Court on November
10, 2021, at 12:45 p.m. for violations of the conditions of her supervised release to which she
pleaded guilty in January 2021. The government has conferred with defense counsel, who
have indicated that they require additional time to prepare for sentencing. It is the
government’s understanding from defense counsel that, at present, the defendant does not
intend to request release on bail pending sentencing.

              The parties therefore jointly request that the November 10, 2021 VOSR
sentencing proceeding be converted to a status conference, during which the parties can discuss
with the Court a new date for the VOSR sentencing, as well as how to proceed with the
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additional pending violations of supervised release set forth in the Probation Department’s
August 2021 Supplemental VOSR Report.



                                                 Respectfully submitted,


                                                 BREON PEACE
                                                 United States Attorney

                                          By:     /s/ Josh Hafetz
                                                 Josh Hafetz
                                                 Ian C. Richardson
                                                 Assistant U.S. Attorneys
                                                 (718) 254-7000


cc:    Clerk of Court (KAM) (by ECF)
       Deirdre D. von Dornum, Esq. and Samuel Jacobson, Esq. (by Email and ECF)




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